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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO: 1:21-cv-22863-KMM

   JUDITH ANNE HAYES, individually and on behalf
   of W.H., a minor, et. al.,

             Plaintiffs,
   v.

   GOVERNOR RONALD DION DESANTIS, in his official
   Capacity as Governor of the State of Florida; et.al.,

         Defendants.
   ___________________________________________/

        PLAINTIFF’S RESPONSE TO THE STATE DEFENDANT’S MOTION TO DISMISS

             COMES NOW, Plaintiffs, JUDITH ANNE HAYES, individually and on behalf of W.H.,

   a minor., et al., by and through the undersigned counsel, and hereby files response to the Motion

   to Dismiss filed by GOVERNOR RONALD DION DESANTIS DESANTIS; FLORIDA

   DEPARTMENT OF EDUCATION; COMMISSIONER RICHARD CORCORAN (hereinafter

   “State Defendants”) [DE-69], and states as follows:

        I.       Introduction and Background:

             In the Motion to Dismiss, which was further explained at the hearing for the Motion for

   Preliminary Injunction on September 8th, it is clear that the Defendants are attempting to reframe

   the complaint to allege that Plaintiffs are complaining about the lack of educational opportunities

   after they were excluded from the schoolhouse – instead of the act of being excluded from the

   schoolhouse. This demonstrates a fundamental misunderstanding of the effects of segregation and

   exclusion and how such effect encompass every aspect of an equal educational experience.

   Separate is even more unequal for children with disabilities, as not only are they deprived of an
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   integrated, social environment (from classes to busses), but also due to the state’s policy, they are

   also being systemically deprived of the specialized instruction that each has crafted through their

   individualized program. Furthermore, the contention that safety requirements for a child with a

   disability need to be exhausted through the IDEA administrative process runs contrary to both Fry,

   and that exhaustion in this case is both futile and inadequate. Moreover, the ironic fact that the

   State Defendants enacted a provision that allows students without a mask to have a cause of action

   without any preconditions for the same type of segregation or exclusion that they suggest for

   children with disabilities demonstrates the paucity of their arguments.

          Lastly, the State Defendants go far beyond the four corners of the complaint and seek to

   relitigate the case which they lost in Scott v. DeSantis, [DE 80-21]. In reiterating their arguments

   to the preliminary injunction, they seek to assume facts, not established, that post-date the

   complaint.

          On August 6, 2021, the Plaintiffs filed their complaint against the State Defendants. The

   Plaintiffs are parents of fifteen children with disabilities recognized by their school districts as

   such. [DE 1, p. 2-4]. Pursuant to the Complaint, the Governor had recently passed an Executive

   Order on July 30, 2021, in response to several Florida school boards considering or implementing

   mask mandates in their school districts. In such Executive Order, Florida’s Governor DeSantis

   contended that wearing a mask is a limitation on a parent’s fundamental right to make health and

   educational decisions for their children. DE 1, p. 9. As many school districts were scheduled to

   begin classes on August 10, 2021, thousands of families were placed in limbo as to what they

   needed to do to prepare. Id. In addition, in such Executive Order, Governor DeSantis directed the

   Commissioner of Education, to penalize non-compliant school boards that fail to follow his Order.



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           All fifteen children in this Complaint have increased risks of severe illness or death if they

   become infected with COVID-19. Id. at p. 10. Pursuant to the ADA and Section 504 of the

   Rehabilitation Act, these children have the right to equal access the programs and services of the

   education system in an integrated environment. Id. at 10. By placing these children at increased

   injury or death by issuing an Executive Order that prevents districts the ability make such

   decisions, “he is violating the Americans with Disabilities Act and Rehabilitation Act by using

   criteria and methods of administration (i) That have the effect of subjecting qualified individuals

   with disabilities to discrimination on the basis of disability; [and] (ii) That have the purpose or

   effect of defeating or substantially impairing accomplishment of the objectives of the public

   entity's program with respect to individuals with disabilities. 28 C.F.R. § 35.130(b)(3)” Id. at 10.

           All three claims made by the Plaintiffs arise from the implementation of the Governor’s

   executive order which denies the Plaintiffs the right to be safe in their own, brick and mortar

   schools. (DE 1 ¶ 50 -55). The injury suffered by the plaintiffs is that they either need to risk

   becoming ill or try to find an alternative to being in their schools. ¶ 54-55. The alternatives that

   they have to choose from do not provide them with equal access to their educational and non-

   educational benefits of being a child in school. See DE 1, 84- 89. Some of these important factors

   for children with disabilities is the ability to interact with their peers and receive necessary supports

   and services within the school. DE 1 ¶ 99, 111, 114, 121, 126, 131, 134, 142, 159. The claims

   made are specific to the claims under the operative provisions of the ADA and Section 504,

   including the exclusion and discrimination based on being subject to an unsafe environment.

           Each of these children would like their education, as crafted in their IEPs and 504 plans,

   implemented their schools, in-person, and in an integrated-non segregated environment. DE 1, at

   p. 11. All children, whether disabled or able-bodied should have the opportunity to have academic

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   and social learning integrated in a school. For example, children with developmental or intellectual

   disabilities are educated on a modified curriculum also known as “Access Points” curriculum. “An

   Access Point curriculum reflects the core intent of the grade level standards but allows the material

   to be taught at reduced levels of complexity. The intent is to expose students to grade level material

   and promote inclusion with nondisabled students.” Id. 17. For children on an Access Point

   curriculum, all of which have intellectual or developmental disabilities, do not have any alternative

   but to go back to their brick-and-mortar schools and expose themselves to danger. Id. at 18. Each

   of the Plaintiff children demonstrated detailed facts on how they are at risk by the failure to follow

   masking and other basic CDC protocol, and because of their disabilities, they will be at risk of

   serious injury or death if they go back to school, and their other options do not provide them equal

   access to the programs and services of similarly situated able bodied kids in the school district. Id.

   at p 19-29.

      II.        Standard of Review

            The Plaintiffs’ complaint pleads sufficient facts and the law to withstand a motion to

   dismiss. A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) should be

   granted if the allegations in the complaint fail "to state a claim upon which relief can be granted."

   Fed. R. Civ. P. 12(b)(6). A Rule 12(b)(6) motion tests the formal sufficiency of the allegations of

   claims for relief. The dismissal of a complaint is warranted "when, on the basis of a dispositive

   issue of law, no construction of the factual allegations will support the cause of action." Glover v.

   Liggett Group, Inc., 459 F.3d 1304, 1308 (11th Cir. 2006).

            When ruling on a motion to dismiss under Rule 12(b)(6) a court “accepts that allegations

   in the complaint as true and constru[es] them in the light most favorable to the plaintiff.” Hill v.


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   White, 321 F.3d 1334, 1335 (11th Cir. 2003). "While legal conclusions can provide the framework

   of a complaint, they must be supported by factual allegations." Ashcroft v. Iqbal, 556 U.S. 662,

   679 (2009). Those "[f]actual allegations must be enough to raise a right to relief above the

   speculative level." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). "[A] complaint must

   contain sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on its

   face.'" Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S. at 570). In short, the complaint cannot

   merely allege misconduct, but must demonstrate that it is plausible that the pleader is entitled to

   relief. Id.

       III.      Gravamen of the Claim and exhaustion of Administrative Preconditions – A Safe
                 Environment is not an element of FAPE
              The arguments of the State Defendants assert that the exhaustion requirements of the

   Individuals with Disabilities Education Act (IDEA), 20 U.S.C. § 1415(i), applies to all claims in

   this case and the plaintiffs are required to exhaust administrative remedies prior to seeking relief

   under the IDEA. The IDEA focuses on the appropriateness of the public education afforded special

   needs students whereas both the Rehabilitation Act and the ADA focus on disability-based

   discrimination against students with disabilities and are intended to reach “grosser kinds of

   misconduct” than the IDEA. Timms v. Metrop. Schl. Dist. of Wabash Cty., Indiana, 722 F.2d

   1310, 1318 (7th Cir.1983). If relief sought by a plaintiff can be provided by the IDEA or relates to

   the provision of a FAPE or development of an IEP under the IDEA, the plaintiff's ADA or Section

   504 claims will fail absent the plaintiff's exhaustion of administrative remedies. Alboniga v. Sch.

   Bd. of Broward Cty. Fla., 87 F. Supp. 3d 1319, 1328 (S.D. Fla. 2015).

              In Oral Argument, counsel for the Defendant emphasized that just because the Plaintiffs

   intoned the acronym “FAPE” they were automatically relegated to the administrative process,

   without looking into the gravamen of the cause of action of the complaint. This is incorrect. The
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   IDEA, which is not directly at issue in this case, is a comprehensive educational scheme, conferring

   on disabled students a substantive right to public education. Honig v. Doe, 484 U.S. 305, 310, 108

   S.Ct. 592, 98 L.Ed.2d 686 (1988)). In Honig, the Court stated:

          Envisioning the IEP as the centerpiece of the statute's education delivery system
          for disabled children, and aware that schools had all too often denied such children
          appropriate educations without in any way consulting their parents, Congress
          repeatedly emphasized throughout the Act the importance and indeed the necessity
          of parental participation in both the development of the IEP and any subsequent
          assessments of its effectiveness. See §§ 1400(c), 1401(19), 1412(7),
          1415(b)(1)(A), (C), (D), (E), and 1415(b)(2). Accordingly, the Act establishes
          various procedural safeguards that guarantee parents both an opportunity for
          meaningful input into all decisions affecting their child's education and the right to
          seek review of any decisions they think inappropriate. These safeguards include the
          right to examine all relevant records pertaining to the identification, evaluation, and
          educational placement of their child; prior written notice whenever the responsible
          educational agency proposes (or refuses) to change the child's placement or
          program; an opportunity to present complaints concerning any aspect of the local
          agency's provision of a free appropriate public education; and an opportunity for
          “an impartial due process hearing” with respect to any such complaints. §§
          1415(b)(1), (2).

   Honig, 484 U.S. at 311–12 (emphasis ours). As is relevant to this action, the IDEA provides
   as follows:

          Nothing in this chapter shall be construed to restrict or limit the rights, procedures,
          and remedies available under the Constitution, the Americans with Disabilities Act
          of 1990 [42 U.S.C.A. § 12101 et seq.], title V of the Rehabilitation Act of 1973 [29
          U.S.C.A. § 791 et seq.], or other Federal laws protecting the rights of children with
          disabilities, except that before the filing of a civil action under such laws seeking
          relief that is also available under this subchapter, the procedures under subsections
          (f) and (g) shall be exhausted to the same extent as would be required had the action
          been brought under this subchapter.

   20 U.S.C. § 1415(l). In Fry v. Napoleon Cmty. Sch., 137 S. Ct. 743, 756, 197 L. Ed. 2d 46 (2017),

   by looking at the gravamen of the claims, the Supreme Court had adopted a “relief-centered”

   approach to IDEA exhaustion, rather than an “injury-centered” approach. “[T]he IDEA's

   exhaustion provision applies only in cases where the relief sought by a plaintiff in the pleadings is

   available under the IDEA”; in contrast, “[n]on—IDEA claims that do not seek relief available
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   under the IDEA are not subject to the exhaustion requirement, even if they allege injuries that

   could conceivably have been redressed by the IDEA.” Payne v. Peninsula Sch. Dist., 653 F.3d

   863, 871 (9th Cir.2011). Similarly, when a person brings a case where a plaintiff is seeking to

   enforce rights under section 504 or 42 U.S.C. § 1983, that arise as a result of a denial of a free

   appropriate public education, whether pled as an IDEA claim or any other claim that relies on the

   denial of a FAPE to provide the basis for the cause of action, the case must go through exhaustion.

   N.B. by D.G. v. Alachua Cty. Sch. Bd., 84 F.3d 1376, 1379 (11th Cir. 1996). The main questions

   are whether the relief was primarily due to the adequacy of the educational program that the school

   district offered to the child. Durbrow v. Cobb Cty. Sch. Dist., 887 F.3d 1182, 1190 (11th Cir.

   2018).

            In this matter, the claim and injury suffered by Plaintiffs is a regular disability claim of

   exclusion from the school environment due to conditions that were not safe for them to enter into

   the schools as a result of exclusion or segregation from their school environment, the damages

   suffered are the denial of everything from peer interaction to instructional study. There is no

   difference in this matter from the denial of a ramp to the school for a child in a wheelchair, or the

   denial of being permitted to enter school with a service animal. Each of those denials will result in

   a deprivation of both access and the educational and social experiences arising from those denials.

            As such, the Plaintiffs do not need to exhaust administrative remedies under IDEA because

   the relief sought here under the ADA, Section 504, and its implementing regulations – namely, the

   permission to follow CDC requirements and ensure a safe educational environment - is not

   available under the IDEA. The district- and school-wide implementation of safe school

   environments requested is not available under the IDEA, which is inherently individualized. See,

   e.g., L.J. by N.N.J. v. Sch. Bd. of Broward Cty., 927 F.3d 1203, 1210 (11th Cir. 2019)(finding that

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   the IDEA created an array of procedures allowing parents and schools to work together to provide

   “special education and related services designed to meet” disabled children's “unique needs.”). In

   fact, when such relief is systemic, it is considered to be outside of the IDEA as inadequate or futile.

   Systemic violations are not a unique and individualized issue involving a child’s educational

   program. “Administrative remedies are generally inadequate or futile where plaintiffs allege

   structural or systemic failure and seek systemwide reforms.” Association for Community Living

   in Colorado v. Romer, 992 F.2d 1040 (10th Cir.1993)

          Relatedly, the systemic exception is not met every time a plaintiff challenges
          centralized, uniform policies that affect all students within a school or school
          district. … Instead, to satisfy the systemic exception, a plaintiff must challenge
          policies that are “truly systemic ... in the sense that the IDEA's basic goals are
          threatened on a system-wide basis” and must not “focus[ ] on the shortcomings of
          a particular component of ... special education.”

   T.R. v. Sch. Dist. of Philadelphia, 4 F.4th 179, 192 (3d Cir. 2021) (internal quotation omitted).

   This court has found that exhaustion is futile when there is a policy or practice that even violates

   a provision of the IDEA – such as the uniform policy of denying ABA therapy to autistic children:

          Taking the allegations in the complaint as true, it would be futile for potential class
          members to utilize the administrative remedial scheme in order to challenge the
          School Board's uniform policy of denying requests for ABA. If the parents of the
          children have no actual input in the IEP determination for children with ASD, and
          the School Board automatically determines their placement, little could be gained
          from requiring each family to exhaust administrative remedies. A general
          determination as to whether this uniform policy procedurally violates the IDEA can
          best be handled by a district court without the unnecessary resort to countless
          administrative hearings all considering the same policy and the same evidence. To
          do so would expose the School Board to potentially inconsistent rulings on their
          standard policy, ultimately requiring an eventual resolution of the issue by a federal
          district court. Under the facts alleged here, exhaustion by class members would be
          needless and futile.

   L.M.P. ex rel. E.P. v. Sch. Bd. of Broward Cty., Fla., 516 F. Supp. 2d 1294, 1305 (S.D. Fla. 2007).

   Similarly, by systemically denying a safe environment, thesechildren are automatically


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   disqualified from being integrated into the schools because of their disabilities and are relegated

   to segregated or out-of-school options. The structure of IDEA administrative compliance does not

   focus on these more generalized needs, as they do not involve the unique issues involved with

   each student. In L.J. the Eleventh Circuit established how there are content cases which argue

   about the scope of an IEP, and an implementation case which examines how the unique IEP is

   implemented in practice:

          The IDEA allows parents to challenge “any matter relating to the identification,
          evaluation, or educational placement of the child, or the provision of a free
          appropriate public education.” Id. § 1415(b)(6)(A). Disagreements over a disabled
          child's education can take different forms. Sometimes the child's parent will argue
          that the school's proposed IEP is inadequate and thus fails to offer a free appropriate
          public education. In those content cases, the Supreme Court recently made clear
          that to “meet its substantive obligation under the IDEA, a school must offer an IEP
          reasonably calculated to enable a child to make progress appropriate in light of the
          child's circumstances.” Endrew F., 137 S. Ct. at 999. Other times, in what are more
          fairly called implementation cases, the parent will argue that while their child's IEP
          clears the IDEA's substantive threshold as written, the school has nonetheless failed
          to properly put the plan into practice.

   L.J. by N.N.J. v. Sch. Bd. of Broward Cty., 927 F.3d 1203, 1207 (11th Cir. 2019). The Supreme

   Court in Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist., Westchester Cnty. v. Rowley, 458

   U.S. 176, 102 S.Ct. 3034, 73 L.Ed.2d 690 (1982) narrowly defined the role the federal courts take

   in reviewing the due process requirements which are limited to items in the IEP. In analyzing the

   appropriate interpretation, the Court specified that: “a court's inquiry in suits brought under §

   1415(e)(2) is twofold”: (1) “has the State complied with the procedures set forth in the Act”; and

   (2), “is the individualized educational program (‘IEP’) developed through the Act's procedures

   reasonably calculated to enable the child to receive educational benefits.” Id. at 206–07, 102 S.Ct.

   3034. The Court further concluded that Congress' intention was not that the IDEA displace the

   primacy of States in the field of educational methods, and, “once a court determines that the


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   requirements of the Act have been met, questions of methodology are for resolution by the States.”

   Id. at 208, 102 S.Ct. 3034. Accordingly, as the items are outside of both the content and

   implementation of the IEP or 504 plan, an administrative law judge could not order the school

   districts to do any action, and such judges do not have the authority to violate the regulations

   promulgated pursuant to the executive order.

          In this matter, we are not arguing educational methods or educational benefits, the Plaintiffs

   maintain that educational and non-educational benefits of the public school system are being

   denied based on exclusion. As a “safe environment” is not an element of FAPE, exhaustion is not

   required. P.P . v. Compton Unified School District, 135 F. Supp. 3d 1126 (C.D. Cal. 2015)(district-

   and school-wide implementation of trauma-sensitive systems requested was not available under

   the IDEA, which is inherently individualized); Dorsey v. Pueblo School District 60, 140 F. Supp.

   3d 1102 (D. Colo. 2015)(relief for bullying from school employees not available under the IDEA).

          Whether or not a claim is subject to the exhaustion requirement includes an examination

   of the gravamen or essence of the claims to determine whether the complaint seeks to determine

   if a “complaint against a school concerns the denial of a FAPE, or instead addresses disability-

   based discrimination.” Fry v. Napoleon Cmty. Sch., 137 S. Ct. 743, 756, 197 L. Ed. 2d 46 (2017).

   As should be apparent, the IDEA and Title II differ in both ends and means.” K.M. ex rel. Bright

   v. Tustin Unified Sch. Dist., 725 F.3d 1088, 1097 (9th Cir. 2013). “Substantively, the IDEA sets

   only a floor of access to education for children … but requires school districts to provide the

   individualized services necessary to get a child to that floor, regardless of the costs, administrative

   burdens, or program alterations required. Title II and its implementing regulations, taken together,

   require public entities to take steps towards making existing services not just accessible, but



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   equally accessible to people with … disabilities, but only insofar as doing so does not pose an

   undue burden or require a fundamental alteration of their programs.” Id.

           To determine whether a complaint seeks relief under the specific provisions of FAPE and

   the IDEA and when it seeks general discrimination claims, the Supreme Court offered a test of

   two hypothetical questions:

           One clue to whether the gravamen of a complaint against a school concerns the
           denial of a FAPE, or instead addresses disability-based discrimination, can come
           from asking a pair of hypothetical questions. First, could the plaintiff have brought
           essentially the same claim if the alleged conduct had occurred at a public facility
           that was not a school—say, a public theater or library? And second, could
           an adult at the school—say, an employee or visitor—have pressed essentially the
           same grievance? When the answer to those questions is yes, a complaint that does
           not expressly allege the denial of a FAPE is also unlikely to be truly about that
           subject; after all, in those other situations there is no FAPE obligation and yet the
           same basic suit could go forward. But when the answer is no, then the complaint
           probably does concern a FAPE, even if it does not explicitly say so; for the FAPE
           requirement is all that explains why only a child in the school setting (not an adult
           in that setting or a child in some other) has a viable claim.

   Fry, 137 S. Ct. at 756.

           Before analyzing the two claims, it is essential to consider that in the implementation of

   the regulation relating to the requirement of a parental opt-out, the drafters prohibited and provided

   a direct cause of action under the parents’ bill of rights, § 1014.01, Fla. Stat., et seq. relating to the

   prohibitions of rule 64DER21-12(6), which provides as follows:

           (6) NON-DISCRIMINATION. Students whose parents or legal guardian have
               opted them out of a mask or face covering requirement shall not be subject to
               any harassment or discriminatory treatment, including but not limited to:

               (a) Relegation to certain physical locations;
               (b) Isolation during school activities; or
               (c) Exclusion from any school-sponsored events or activities.

   Ironically, all of the solutions argued by the State defendants would be considered discrimination

   against children who choose to opt-out of the mask requirements under their own regulations.

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   These options argued by the State Defendants include having no option to be an in-person school,

   being relegated to hospital-homebound program or virtual school, or requesting the development

   of a segregated class without persons that are non-masked (as well as segregated hallways,

   segregated lunchrooms, segregated physical education classes, segregated transportation, and all

   other programs, services, and activities of the school system). Such segregation would be a per se

   violation of the integration mandate of the ADA. Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581,

   119 S. Ct. 2176, 144 L. Ed. 2d 540 (1999). The fact that persons who choose not be masked would

   be able to have a direct cause of action without administrative preconditions, and persons with

   disabilities would need to exhaust for the same violations is plainly inequitable.

          Because the questions and claims in this case arise from the safe environment due to the

   lack of precautions that caused the exclusion or denial of programs, benefits or services, the first

   question – “could the plaintiff have brought essentially the same claim if the alleged conduct had

   occurred at a public facility that was not a school—say, a public theater or library?” – the answer

   is yes, as there is a plethora cases across the country related to the legitimacy of mask limitations

   for both public and private entities under the Americans with Disabilities Act and other laws. See

   e.g. Pletcher v. Giant Eagle Inc., 2020 WL 6263916, at *1 (W.D. Pa. Oct. 23, 2020)(ADA claim

   that no exception to face mask requirement in grocery store violated rights of person with multiple

   disabilities); Giles v. Sprouts Farmers Mkt., Inc., 2021 WL 2072379, at *1 (S.D. Cal. May 24,

   2021)(Plaintiff filed claim that she was denied entry into a market when she refused to wear either

   a face covering or a face shield); Emanuel v. The Walt Disney Co., 2021 WL 2454462, at *2 (E.D.

   Pa. June 16, 2021)(Person who lives with Autism that prevented him from wearing a mask denied

   entry into a Disney Store); Blandino v. Eighth Judicial Dist. Court in & for County of Clark, 478

   P.3d 936 (Nev. App. 2021)(petitioner filed mandamus action to challenge COVID-19

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   administrative orders wearing masks); Chew v. Legislature of Idaho, 512 F. Supp. 3d 1124, 1126

   (D. Idaho 2021)(Ohio legislature mask wearing). Also, claims have been made for safety

   protections from COVID in prisons, Ahlman v. Barnes, 445 F. Supp. 3d 671, 688 (C.D. Cal. 2020)

   (Granting preliminary injunctions requiring protections to incarcerated people to prevent infection

   under the ADA), and psychiatric facilities, Costa v. Bazron, 464 F. Supp. 3d 132 (D.D.C. 2020)

          For the second question – “could an adult at the school—say, an employee or visitor—

   have pressed essentially the same grievance?” – Again, of course. As shown above, any member

   of the public who has standing can challenge a policy that prohibits (or requires) masks. School

   districts in Florida, and across the country, have implemented requirements for employees and

   members of the public relating to wearing masks and other protections in schools. In addition, the

   EEOC has established detailed guidance on reasonable accommodations for employees during the

   COVID-19        Pandemic.          See      Coronavirus      and      COVID-19,       found      at

   https://www.eeoc.gov/coronavirus. As such, there should be no question that the use of a mask or

   other prophylactic device to prevent the transmission of COVID-19 is not an educational issue,

   but a disability discrimination issue that is mainly covered by the discrimination provisions of

   ADA and 504.

          Examples of items that would be required under to exhaust administrative preconditions

   include denial of a paraprofessional (Moragas v. Sch. Bd. of Miami-Dade County, 2019 WL

   3252229, at *4 (S.D. Fla. 2019)), failure to allow a parent to attend an IEP meeting (Prunty v.

   Desoto County Sch. Bd. & Dist., 738 Fed. Appx. 648, 651 (11th Cir. 2018)), failure of the

   adequacy of the educational program for a student with ADHD (Durbrow v. Cobb Cty. Sch. Dist.,

   887 F.3d 1182, 1190 (11th Cir. 2018)). On the other hand, issues that are discriminatory at any

   place of public accommodation or governmental entity would be actionable, such as bullying,

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   singling out, or targeting a student with a disability (S.V.S by & through Varner v. Broward County

   Pub. Sch., 2019 WL 10092978, at *5 (S.D. Fla. 2019)), segregation of students into different

   classrooms (Georgia Advoc. Off. v. Georgia, 447 F. Supp. 3d 1311, 1315 (N.D. Ga. 2020);

   physical abuse or isolation of a disabled student (N.R. by Ragan v. Sch. Bd. of Okaloosa County,

   Florida, 418 F. Supp. 3d 957, 993–94 (N.D. Fla. 2019), J.S., III by & through J.S. Jr. v. Houston

   County Bd. of Educ., 877 F.3d 979, 986 (11th Cir. 2017)) Another example of the exemption is

   when care is needed for a medical condition:

          Significantly, AP has not brought any claims under the IDEA. ... AP's parents asked
          District 11 to accommodate AP's diabetes so that he would be safe and healthy at
          Adventures Plus; this is more like asking District 11 to accommodate a wheelchair-
          bound student by installing a ramp or widening doors than it is like asking for
          specific educational services.

   AP ex rel. Peterson v. Anoka-Hennepin Indep. Sch. Dist. No. 11, 538 F. Supp. 2d 1125, 1146–47

   (D. Minn. 2008). See also B.M. v. Bd. of Educ. of Scott Cnty., Ky., 2008 WL 4073855, at *6

   (E.D.Ky. Aug. 29, 2008) (exhaustion not required where allegations arising from “concerns about

   how blood sugar monitoring would be conducted and insulin administered” at school, were “not

   related to the way that Defendants provided an education” and were “independent” of the IDEA);

   Sullivan by & through Sullivan v. Vallejo City Unified Sch. Dist., 731 F.Supp. 947, 951

   (E.D.Cal.1990) (no exhaustion for relief under Rehabilitation Act where disabled student sought

   to be accompanied by service dog at school but did not dispute the adequacy of educational

   program or aver that service dog was educationally necessary).

   In any event, any exhaustion would be futile and/or inadequate under the IDEA.

          In Oral Argument, the State Defendants stated, in essence, that the parental mask opt out

   was not to be affected by any of the remedies that could be provided to a child, and that children

   with disabilities could have remote learning or segregated learning if other safety factors were not

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   adequate. The exhaustion of administrative remedies is not required under the IDEA where resort

   to administrative remedies would be 1) futile or 2) inadequate. Durbrow v. Cobb Cty. Sch. Dist.,

   887 F.3d 1182, 1191 (11th Cir. 2018). Exhaustion is not required where exhaustion is futile or

   inadequate, where the question presented is purely legal, where the administrative process cannot

   grant relief, or where exhaustion would work a severe or irreparable harm upon a litigant. D.M.

   v. New Jersey Dept. of Educ., 801 F.3d 205 (3d Cir. 2015).

            Initially, the mere fact that remedies are not available, even after the due process hearing

   occurs, would make the process, by definition futile and inadequate. In this matter, the need for a

   safe environment is beyond the scope of the due process hearing. See Weber v. Cranston Sch.

   Comm., 212 F.3d 41, 52 (1st Cir.2000) (observing that a state's implementation of the IDEA may

   render exhaustion futile where a plaintiff's complaint lies beyond “the scope of the due process

   hearing”); McGraw v. Prudential Ins. Co. of Am., 137 F.3d 1253, 1264 (10th Cir.1998) (noting

   that futility exception is limited to those situations where resort to administrative remedies would

   be “clearly useless”). The contention by counsel for the Defendant that administrative

   preconditions need to be exhausted when the process cannot garner the necessary relief or

   preconditions for such relief (i.e. finding a violation of section 504 to have a trial for damages) is

   false.

            While systemic violations, such as a widespread legal violation or a practice, are an

   example of such inadequate or futile events which would not require exhaustion, exhaustion is

   similarly deemed to be inadequate and not necessary when “an emergency situation exists (e.g.,

   the failure to take immediate action will adversely affect a child's mental or physical health).”

   Komninos by Komninos v. Upper Saddle River Bd. of Educ., 13 F.3d 775, 778–79 (3d Cir.

   1994)(quoting H.R.Rep. No. 296, 99th Cong., 1st Sess. 7 (1985)). In this case, the regulation, in

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   and of itself, is an emergency regulation. The mere fact that the due process timeline under Florida

   Administrative Code 6A06.03311(9) provides at least 75 days for a decision makes relief futile.

   This is not including the court delays that have also been systemic due to the pandemic.

          One of the protections that is usually provided to a student is the IDEA’s stay put provision.

   Section 1415(j) establishes a student's right to a stable learning environment during what may be

   a lengthy administrative and judicial review. Tenn. Dep't of Mental Health & Mental Retardation

   v. Paul B., 88 F.3d 1466, 1472 (6th Cir.1996). If the child is ejected from his or her current

   educational placement while the administrative process sorts out where the proper interim

   placement should be, then the deprivation of education is complete. And, when such deprivation

   cannot be satisfied by the stay put provision, then again, immediate relief is essential to vindicate

   a child’s right. See Murphy v. Arlington Cent. Sch. Dist. Bd. of Educ., 297 F.3d 195, 199–200 (2d

   Cir. 2002); L.A. v. New York City Dep't of Educ., 2020 WL 5202108, at *3 (S.D.N.Y. Sept. 1,

   2020). In this matter, there is no protections afforded to a child in the delay, as the stay-put option

   places more harm to the child’s education and health. Furthermore, the situation with surges of

   COVID are so fluid, that the complying with such conditions each time an arbitrary rule placing

   children with disabilities in danger would make relief always impossible. See Roman Cath.

   Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 208 L. Ed. 2d 206 (2020)

   Collateral Estoppel and Redressability and Traceability.

          In this motion to dismiss, the State Defendants go far beyond the four corners of the

   complaint and are seeking to collaterally attack the State Court judgment for which they had an

   opportunity to fully try. While the arguments were in the Motion for Preliminary Injunction, with

   an up-to-the minute rendition of what the State Defendants have done since the filing of the

   complaint, the motion should be decided on the four corners of the complaint. However, the court

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   should understand that this is being used as a collateral attack. “[C]ollateral estoppel precludes the

   relitigating of an issue that has already been litigated and resolved in a prior proceeding.” Pleming

   v. Universal–Rundle Corp., 142 F.3d 1354, 1359 (11th Cir.1998). “Collateral estoppel applies

   when: (1) “the issue at stake is identical to the one involved in the prior proceeding,” (2) “the issue

   was actually litigated in the prior proceeding,” (3) the determination of the issue in the prior

   litigation was a “critical and necessary part” of the judgment in the first action, and (4) the party

   against whom collateral estoppel is asserted had a “full and fair opportunity” to litigate the issue

   in the prior proceeding. Id.; Parris v. Taft, 630 F. App'x 895, 900 (11th Cir. 2015). In Scott v.

   DeSantis, Case No. 2021-CA-001382 [attached as DE 80-21], the same State Defendants were

   sued as to whether the promulgation of the Executive Order was a valid exercise of the State

   Defendant’s power under Florida Law, and asserted many of the same arguments, which were

   rejected by the state court judge when the ruling on the issues incorporated in the motion to dismiss

   were decided after trial:

          1. The State Court found that the actions were traceable to the governor and his executive

              order, and rules promulgated through his order by his executive agencies:

              •   A third point of distinction is the DeSantis case said that the order in that case did
                  not require the school districts to do anything. In this case, the order and the
                  consequences it set up and directed resulted in ordering the school districts to not
                  pass a mandate with no parental opt-out. If you do that, as was stated, there will be
                  consequences. And we've already seen that that's happening now [DE 66-1, p. 52]

              •   The purpose of the Executive Order and the actions it set in motion were to prohibit
                  local school boards from adopting face mask mandates that did not include a
                  parental opt-out provision. The Defendants have contended by their actions and
                  positions in this case that the Parents' Bill of Rights authorizes them to enforce a
                  blanket prohibition against mask mandates. The Defendants have additionally used
                  threats of enforcement and have engaged in enforcement actions generated as a
                  result of the Executive Order to enforce this blanket prohibition. The Defendants
                  contend that the Parents' Bill of Rights as referenced in the Executive Order

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                authorized the enforcement actions against school boards that adopted face mask
                mandates with no parent opt-out provision. [DE 80-21 p. 22]

         2. The State Court found that the rule was not promulgated during a declared emergency,

            and did not rely on the complete text of the Parents Bill of Rights, which allows

            reasonable restrictions for health and safety:

            •   The provision of the law that is most relevant to this case is: Fl. St.§1014.03, which
                says in pertinent part, no "governmental entity ... may ... infringe on the
                fundamental rights of a parent to direct the upbringing, education, health care, and
                mental health of his or her minor child without demonstrating that such action is
                reasonable and necessary to achieve a compelling state interest and that such action
                is narrowly tailored and is not otherwise served by a less restrictive means."
                (emphasis supplied).

                It seems that the Defendants are relying only on the first portion of Fla. Stat.
                §1014.03 that prohibits infringement on parents’ rights, but ignoring the remaining
                portion of the section which provides that infringement may occur if the action is
                reasonable and necessary to achieve a compelling state interest and that the action
                is narrowly tailored and is not otherwise served by a less restrictive means. In plain
                English, this law says that the government cannot interfere with parental rights
                regarding education and health care unless there is a reasonable basis to do so and
                that the remaining elements of Fla. Stat. §1014.03 are met. [DE 80-21, p. 18].

         3. The Court found that the immense danger posed to all children was an irreparable
            injury:

            •   In this case irreparable injury is demonstrated by the increased risk of Delta variant
                infection (as demonstrated by CDC guidance and medical evidence in the record)
                if universal face mask mandates are blocked in violation of the Parents' Bill of
                Rights. A continuing constitutional violation is in and of itself irreparable harm.
                Board of County Commissioners v. Home Builders Association of West Florida,
                2021 WL 3177293, at *3 (Fla. 1st DCA July 28, 2021). [DE 80-21, p. 26].

         4. As a result of finding the actions traceable to the state defendant’s conduct, it enjoined

            the defendants from continuing the conduct (other than the Governor):

            •   The "Enjoined Defendants" are ordered not to violate the Parents' Bill of Rights by
                taking action to effect a blanket ban on face mask mandates by local school boards
                and by denying the school boards their due process rights granted by the statute
                which permits them to demonstrate the reasonableness of the mandate and the other
                factors stated in the law. I also enjoin the "Enjoined Defendants" from enforcing or

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                  attempting to enforce the Executive Order and the policies it caused to be generated
                  and any resulting policy or action which violates the Parents' Bill of Rights as
                  outlined in this Final Judgment. [DE 80-21, p. 25]


   Plaintiffs State Law Claims
          The Florida Educational Equity Act (“FEEA”) prohibits discrimination based on national

   origin against a student in the state system of public K–20 education. Fla. Stat. § 1000.05(2)(a).

   “No person in this state shall, on the basis of ... disability ... be excluded from participation in, be

   denied the benefits of, or be subjected to discrimination under any public K–20 educational

   program or activity, ... conduct by a public educational institution that receives or benefits from

   federal or state financial assistance.” Id. The FEEA confers a private right of action for injunctive

   relief. See Fla. Stat. 1000.05(7).

          As this statute specifically authorizes discrimination suits against public entities that

   discriminates based on disability in public educational institutions, claims against the state and

   state entities are permitted. Fla. Stat. § 1000.05(2)(a); see, e.g. Methelus v. Sch. Bd. of Collier

   Cty., Fla., 243 F. Supp. 3d 1266, 1281 (M.D. Fla. 2017)(“And pre-suit notice is not required here

   because the FEEA authorizes discrimination suits against “public educational institution[s].” This

   statute is patterned after Title VII, and claims are analyzed identically to Title VII claims. Ren v.

   Univ. of Cent. Fla. Bd. of Trustees, 390 F. Supp. 2d 1223, 1235 (M.D. Fla. 2005), aff'd sub nom.

   Ren v. Univserity of Cent. Fla. Bd. of Trustees, 179 F. App'x 680 (11th Cir. 2006) The Eleventh

   Amendment (or sovereign) immunity bars an unconsented action against a state for damages, but

   does not bar a suit for nonmonetary relief, such as an injunction. This point was made in Board of

   Trustees of the University of Alabama v. Garrett, 531 U.S. 356, 121 S.Ct. 955, 148 L.Ed.2d 866




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   (2001), where Eleventh Amendment immunity barred plaintiff's action for damages under Title I

   of the ADA but did not bar injunctive relief. Garrett, 531 U.S. at 374 n. 9, 121 S.Ct. 955.

          WHEREFORE, Plaintiffs, JUDITH ANNE HAYES, individually and on behalf of W.H.,

   a minor., et al., respectfully requests that this Court DENY the Defendant’s motion to dismiss and

   grant any further relief as this court deems just and equitable.



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 9, 2021, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system which will send notice of electronic

   filing to all parties and counsel of record, or in some other authorized manner for those counsel or

   parties who are not authorized to receive notices electronically.

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